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   1 APPLE AMERICAN GROUP LLC
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   3 San Francisco, California 94104
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   5
   6 Attorneys for Defendant
     APPLE SOCAL LLC
   7
   8
   9                        UNITED STATES DISTRICT COURT

  10                      CENTRAL DISTRICT OF CALIFORNIA

  11
  12 MIRIAM MALDONADO,                              Case No. 8:19-cv-02446 JVS (KESx)

  13               Plaintiff,                       ANSWER AND AFFIRMATIVE
                                                    DEFENSES OF DEFENDANT
  14                                                APPLE SOCAL LLC AND
             v.                                     CROSSCLAIM AGAINST W.
  15                                                JACKSON BRANSFORD,
                                                    TRUSTEE OF BRANSFORD
  16 APPLE SOCAL LLC D/B/A                          LIVING TRUST
     APPLEBEE’S; BRANSFORD W.
  17 JACKSON, TRUSTEE OF                            The Hon. James V. Selna

  18 BRANSFORD W. JACKSON TRUST,                    Action Filed:    December 17, 2019
                                                    Trial Date:      Not Set
  19               Defendants.
  20
       APPLE SOCAL LLC,
  21
                   Cross-Complainant,
  22
  23         v.
  24 W. JACKSON BRANSFORD,
  25 TRUSTEE OF BRANSFORD LIVING
       TRUST,
  26
                   Cross-Defendant.
  27
  28
                                                1
                                                d

       ANSWER, AFF. DEFENSES & CROSS-CLAIM OF APPLE SOCAL LLC           Case No. 8:19-cv-02446
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   1         Defendant Apple SoCal LLC, (“Apple”), for its answer and affirmative
   2 defenses to the Complaint of Miriam Maldonado (“Complaint”) alleges as follows:
   3                            JURISDICTION AND VENUE
   4         1.    As to Paragraph 1 of the Complaint, Apple admits that subject-matter
   5 jurisdiction is proper in this Court. Apple denies the remaining allegations set forth
   6 in Paragraph 1 of the Complaint.
   7         2.    As to Paragraph 2 of the Complaint, Apple admits that subject-matter
   8 jurisdiction is proper in this Court. Apple denies the remaining allegations set forth
   9 in Paragraph 2 of the Complaint.
  10         3.    As to Paragraph 3 of the Complaint, Apple admits that venue is proper
  11 in this Court. Apple denies the remaining allegations set forth in Paragraph 3 of the
  12 Complaint.
  13                                       PARTIES
  14         4.    As to Paragraph 4 of the Complaint, Apple lacks sufficient information
  15 and belief to admit or deny the allegations.
  16         5.    As to Paragraph 5 of the Complaint, Apple admits that at the relevant
  17 times, it owns and operates the Applebee’s Grill + Bar located at 1238 West
  18 Imperial Highway, La Habra, California. Apple admits, on information and belief,
  19 that at the relevant times, the Bransford Living Trust is the owner of the shopping
  20 center at Imperial Highway, La Habra, California and the lessor of the Applebee’s
  21 Grill + Bar. Apple denies the remaining allegations set forth in Paragraph 5 of the
  22 Complaint.
  23         6.    Paragraph 6 of the Complaint sets forth contentions of law and
  24 therefore no response is required. To the extent a response is required, Apple denies
  25 the allegations.
  26         7.    As to Paragraph 7 of the Complaint, Apple denies the allegations.
  27
  28

                                                2
       ANSWER, AFF. DEFENSES & CROSS-CLAIM OF APPLE SOCAL LLC             Case No. 8:19-cv-02446
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   1         8.    Paragraph 8 of the Complaint sets forth contentions of law and
   2 therefore no response is required. To the extent a response is required, Apple denies
   3 the allegations.
   4                             FACTUAL ALLEGATIONS
   5         9.    As to Paragraph 9 of the Complaint, Apple lacks sufficient information
   6 and belief to admit or deny the allegations in the first and second sentence. Apple
   7 admits the allegations in the third sentence.
   8         10.   As to Paragraph 10 of the Complaint, Apple denies the allegations.
   9         11.   As to Paragraph 11 of the Complaint, Apple denies the allegations.
  10         12.   As to Paragraph 12 of the Complaint, Apple denies the allegations.
  11         13.   As to Paragraph 13 of the Complaint, Apple denies the allegations.
  12         14.   As to Paragraph 14 of the Complaint, Apple denies the allegations.
  13                             FIRST CAUSE OF ACTION
  14         VIOLATION OF THE AMERICANS WITH DISABILITIES ACT
  15         15.   As to Paragraph 15 of the Complaint, Apple realleges and incorporates
  16 by reference its responses to Paragraph 1 through 14 as if fully set forth herein.
  17         16.   Paragraph 16 of the Complaint sets forth contentions of law and
  18 therefore no response is required. To the extent a response is required, Apple denies
  19 the allegations.
  20         17.   Paragraph 17 of the Complaint sets forth contentions of law and
  21 therefore no response is required. To the extent a response is required, Apple denies
  22 the allegations.
  23         18.   Paragraph 18 of the Complaint sets forth contentions of law and
  24 therefore no response is required. To the extent a response is required, Apple denies
  25 the allegations.
  26         19.   Paragraph 19 of the Complaint sets forth contentions of law and
  27 therefore no response is required. To the extent a response is required, Apple denies
  28 the allegations.

                                                 3
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   1         20.   Paragraph 20 of the Complaint sets forth contentions of law and
   2 therefore no response is required. To the extent a response is required, Apple denies
   3 the allegations.
   4         21.   As to Paragraph 21 of the Complaint, Apple denies the allegations.
   5         22.   Paragraph 22 of the Complaint sets forth contentions of law and
   6 therefore no response is required. To the extent a response is required, Apple denies
   7 the allegations.
   8         23.   As to Paragraph 23 of the Complaint, Apple denies the allegations.
   9         24.   As to Paragraph 24 of the Complaint, the first sentence sets forth
  10 contentions of law and therefore no response is required. To the extent a response is
  11 required, Apple denies the allegations. Apple denies the allegations in the second
  12 sentence.
  13         25.   As to Paragraph 25 of the Complaint, Apple denies the allegations.
  14                            SECOND CAUSE OF ACTION
  15                VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
  16         26.   As to Paragraph 26 of the Complaint, Apple realleges and incorporates
  17 by reference its responses to Paragraph 1 through 25 as if fully set forth herein.
  18         27.   Paragraph 27 of the Complaint sets forth contentions of law and
  19 therefore no response is required. To the extent a response is required, Apple denies
  20 the allegations.
  21         28.   Paragraph 28 of the Complaint sets forth contentions of law and
  22 therefore no response is required. To the extent a response is required, Apple denies
  23 the allegations.
  24         29.   Paragraph 29 of the Complaint sets forth contentions of law and
  25 therefore no response is required. To the extent a response is required, Apple denies
  26 the allegations.
  27         30.   As to Paragraph 30 of the Complaint, Apple denies the allegations.
  28         31.   As to Paragraph 31 of the Complaint, Apple denies the allegations.

                                                 4
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   1                             THIRD CAUSE OF ACTION
   2           VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
   3         32.   As to Paragraph 32 of the Complaint, Apple realleges and incorporates
   4 by reference its responses to Paragraph 1 through 31 as if fully set forth herein.
   5         33.   Paragraph 33 of the Complaint sets forth contentions of law and
   6 therefore no response is required. To the extent a response is required, Apple denies
   7 the allegations.
   8         34.   Paragraph 34 of the Complaint sets forth contentions of law and
   9 therefore no response is required. To the extent a response is required, Apple denies
  10 the allegations.
  11         35.   Paragraph 35 of the Complaint sets forth contentions of law and
  12 therefore no response is required. To the extent a response is required, Apple denies
  13 the allegations.
  14         36.   As to Paragraph 36 of the Complaint, Apple denies the allegations.
  15         37.   As to Paragraph 37 of the Complaint, Apple denies the allegations.
  16                            FOURTH CAUSE OF ACTION
  17                           UNFAIR COMPETITION ACT
  18         38.   As to Paragraph 38 of the Complaint, Apple realleges and incorporates
  19 by reference its responses to Paragraph 1 through 37 as if fully set forth herein.
  20         39.   As to Paragraph 39 of the Complaint, Apple denies the allegations.
  21         40.   As to Paragraph 40 of the Complaint, Apple denies the allegations.
  22         41.   As to Paragraph 41 of the Complaint, Apple denies the allegations.
  23                             FIFTH CAUSE OF ACTION
  24                                    NEGLIGENCE
  25         42.   As to Paragraph 42 of the Complaint, Apple realleges and incorporates
  26 by reference its responses to Paragraph 1 through 41 as if fully set forth herein.
  27
  28

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       ANSWER, AFF. DEFENSES & CROSS-CLAIM OF APPLE SOCAL LLC             Case No. 8:19-cv-02446
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   1         43.    Paragraph 43 of the Complaint sets forth contentions of law and
   2 therefore no response is required. To the extent a response is required, Apple denies
   3 the allegations.
   4         44.    As to Paragraph 44 of the Complaint, Apple denies the allegations.
   5         45.    As to Paragraph 45 of the Complaint, Apple denies the allegations.
   6                         ANSWER TO PRAYER FOR RELIEF
   7         Apple denies that Plaintiff has any valid claims against it and denies that
   8 Plaintiff is entitled to any of the relief requested against it, including judgment,
   9 equitable or injunctive relief, preventive relief, damages of any kind (including but
  10 not limited to special, statutory, punitive, exemplary, or general), costs, attorney’s
  11 fees, pre- or post-judgment interest, or any other relief.
  12                            APPLE’S AFFIRMATIVE DEFENSES
  13         Without admitting any of the facts alleged in the Complaint, Apple alleges
  14 and asserts the affirmative defenses set forth herein. By pleading these affirmative
  15 defenses, Apple does not assume the burden of proving any fact, issue, or element of
  16 a cause of action where such burden properly belongs to Plaintiff. Moreover,
  17 nothing stated herein is intended or shall be construed as a concession that any
  18 particular issue or subject matter is relevant to Plaintiff’s allegations. Apple may
  19 have additional affirmative defenses of which it is not fully aware and reserves the
  20 right to assert additional affirmative defenses after they are ascertained.
  21                           FIRST AFFIRMATIVE DEFENSE
  22         46.    Plaintiff’s Complaint should be dismissed, in whole or in part, because
  23 it fails to state a cause of action upon which relief may be granted and/or fails to
  24 allege sufficient facts necessary to state a claim.
  25                         SECOND AFFIRMATIVE DEFENSE
  26         47.    Plaintiff’s claims are barred because Apple has substantially complied
  27 with any and all federal, state, or local statutes, regulations, constitutional
  28

                                                  6
       ANSWER, AFF. DEFENSES & CROSS-CLAIM OF APPLE SOCAL LLC                Case No. 8:19-cv-02446
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   1 provisions, common laws, or public policies and have caused no damage or injury to
   2 Plaintiff.
   3                         THIRD AFFIRMATIVE DEFENSE
   4         48.   Plaintiff’s claims are barred to the extent Plaintiff is not disabled as
   5 defined by the ADA.
   6                        FOURTH AFFIRMATIVE DEFENSE
   7         49.   Plaintiff’s claims are barred by the doctrines of waiver, estoppel,
   8 laches, and unclean hands.
   9                          FIFTH AFFIRMATIVE DEFENSE
  10         50.   Plaintiff’s claims are barred by the applicable statutes of limitation or
  11 other periods of limitation.
  12                          SIXTH AFFIRMATIVE DEFENSE
  13         51.   At all times relevant to this action, Apple’s actions were in good faith
  14 and it had reasonable grounds for believing those actions were not in violation of
  15 any law.
  16                       SEVENTH AFFIRMATIVE DEFENSE
  17         52.   Plaintiff’s demands are not readily achievable as that term is defined in
  18 Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(iv).
  19                        EIGHTH AFFIRMATIVE DEFENSE
  20         53.   Plaintiff’s demands are not readily achievable, not reasonable, not
  21 required, and/or not technically feasible under the ADA, and would create an undue
  22 hardship for Apple, and may be prevented by architectural and other factors such as
  23 municipal building codes and/or ordinances.
  24                         NINTH AFFIRMATIVE DEFENSE
  25         54.   There is no causal connection between Apple’s action or inaction and
  26 any injury allegedly suffered by Plaintiff.
  27                         TENTH AFFIRMATIVE DEFENSE
  28

                                                   7
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   1         55.   Plaintiff does not have a legitimate and/or bona fide intent to be a
   2 patron of Apple’s location identified in the Complaint other than for the purpose of
   3 pursuing litigation and therefore lacks standing to bring these claims.
   4                       ELEVENTH AFFIRMATIVE DEFENSE
   5         56.   Plaintiff lacks standing to challenge the alleged barriers to access in
   6 areas of the subject property that she did not visit prior to filing his Complaint.
   7                       TWELFTH AFFIRMATIVE DEFENSE
   8         57.   Plaintiff has not suffered and is not suffering irreparable harm and, as
   9 such, no injunctive or declaratory relief is warranted.
  10                     THIRTEENTH AFFIRMATIVE DEFENSE
  11         58.   Plaintiff has failed to specify or demonstrate actual harm allegedly
  12 suffered as a result of Apple’s alleged violations of the ADA; as such, Plaintiff lacks
  13 standing to pursue her claims.
  14                     FOURTEENTH AFFIRMATIVE DEFENSE
  15         59.   Plaintiff’s Complaint and the causes of action alleged therein are barred
  16 because the alleged violations are de minimis and non-actionable, as they do not
  17 materially impair Plaintiff’s use of the physical property at issue for their intended
  18 purpose. Apple asserts that de minimis violations of federal regulations are not
  19 actionable or enjoinable.
  20                      FIFTEENTH AFFIRMATIVE DEFENSE
  21         60.   Plaintiff has failed to mitigate her damages and failed to meet
  22 conditions precedent to bringing this suit including, but not limited to, failing to
  23 provide Apple with adequate notice of the alleged deficiencies and failing to give
  24 Apple any reasonable opportunity to cure any alleged deficiencies prior to filing
  25 suit.
  26                      SIXTEENTH AFFIRMATIVE DEFENSE
  27         61.   The modifications demanded by Plaintiff in this action constitute
  28 “fundamental alterations.”

                                                 8
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   1                    SEVENTEENTH AFFIRMATIVE DEFENSE
   2         62.   Plaintiff’s claims are barred because the modifications Plaintiff seeks in
   3 this action are not “alterations” within the meaning of the ADA and/or they do not
   4 trigger an “alteration” legal standard because the modifications sought will be
   5 disproportionate in cost or cost in excess of 20% of the entire “alteration.”
   6                     EIGHTEENTH AFFIRMATIVE DEFENSE
   7         63.   Apple asserts that it is not required to perform structural modifications
   8 in this action because the subject facility is constructed in accordance with
   9 conventional building industry standards.
  10                     NINETEENTH AFFIRMATIVE DEFENSE
  11         64.   Apple asserts that the subject facility in this action is in substantial
  12 compliance with the structural access requirements of Title III of the ADA.
  13                      TWENTIETH AFFIRMATIVE DEFENSE
  14         65.   Plaintiff’s Complaint should be dismissed, in whole or in part, to the
  15 extent that local ordinances or laws prevent any modifications that may be sought
  16 without approval of appropriate regulatory and/or zoning boards.
  17                    TWENTY-FIRST AFFIRMATIVE DEFENSE
  18         66.   Apple asserts that barrier removal in this action is impracticable.
  19                  TWENTY-SECOND AFFIRMATIVE DEFENSE
  20         67.   Plaintiff’s claims are barred by the doctrine of equivalent facilitation, in
  21 that Apple has utilized alternative designs and technologies that provide
  22 substantially equivalent or greater access to and usability of its buildings and
  23 facilities.
  24                   TWENTY-THIRD AFFIRMATIVE DEFENSE
  25         68.   Even if, assuming arguendo, Apple has any duty to modify its
  26 premises, Apple satisfied any such duty as, among other things, reasonable
  27 modifications were evaluated and/or reasonable alternatives were considered and/or
  28 implemented or provided, as expressly provided for by the ADA.

                                                  9
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   1                  TWENTY-FOURTH AFFIRMATIVE DEFENSE
   2         Plaintiff’s Complaint should be dismissed, in whole or in part, to the extent that
   3 any alleged violations are within recognized tolerances or variances and/or are in
   4 compliance with the oversight of all regulatory agencies.
   5                    TWENTY-FIFTH AFFIRMATIVE DEFENSE
   6         69.   Plaintiff is not entitled to recovery of statutory penalties to the extent
   7 that such penalties are sought in addition to damages for the same claims, and such
   8 duplicative recovery is barred by the doctrine of unjust enrichment.
   9                    TWENTY-SIXTH AFFIRMATIVE DEFENSE
  10         70.   Plaintiff’s Complaint should be dismissed, in whole or in part, because
  11 Plaintiff’s requested modifications would pose a direct threat and/or the current
  12 configuration of Apple’s premises is based on legitimate safety requirements.
  13                  TWENTY-SEVENTH AFFIRMATIVE DEFENSE
  14         71.   Plaintiff may lack clean hands or possess an improper purpose in filing
  15 this action, thus barring equitable remedies. Plaintiff’s primary motive in filing this
  16 action may be the generation of attorneys’ fees and expert witness payments.
  17                   TWENTY-EIGHTH AFFIRMATIVE DEFENSE
  18         72.   Plaintiff is not entitled to recover attorneys’ fees under the ADA to the
  19 extent Apple has or will take appropriate measures to remedy the alleged barriers to
  20 access.
  21                    TWENTY-NINTH AFFIRMATIVE DEFENSE
  22         73.   Apple is relieved of any liability whatsoever as to Plaintiff’s claims for
  23 damages set forth in the Complaint to the extent said claims arise solely from acts or
  24 omissions for which Apple is not responsible.
  25                       THIRTIETH AFFIRMATIVE DEFENSE
  26         74.   Apple is immune to liability for some or all of the alleged accessibility
  27 barriers asserted by Plaintiff in her Complaint under applicable safe harbor
  28 provisions.

                                                 10
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   1                     THIRTY-FIRST AFFIRMATIVE DEFENSE
   2         75.   Plaintiff failed to provide notice to Apple of any alleged barriers to
   3 access in order to allow an opportunity to correct any such deficiencies and,
   4 therefore, Plaintiff cannot support a claim for recovery of costs or attorneys’ fees.
   5                   THIRTY-SECOND AFFIRMATIVE DEFENSE
   6         76.   Plaintiff’s claims are barred by the doctrine of mootness to the extent
   7 that the barriers alleged by Plaintiff, if there were any, have been or will be
   8 remediated at the time this action is finally adjudicated.
   9                    THIRTY-THIRD AFFIRMATIVE DEFENSE
  10         77.   Plaintiff’s Complaint and the causes of action alleged therein are barred
  11 to the extent Plaintiff never made any request for reasonable modifications of
  12 policies, practices or procedures, or for the provision of auxiliary aids or services, as
  13 would be required to pursue claims for Apple’s alleged failure to provide reasonable
  14 modifications or auxiliary aids or services.
  15                   THIRTY-FOURTH AFFIRMATIVE DEFENSE
  16         78.   Plaintiff’s Complaint and the causes of action alleged therein are barred
  17 to the extent the alleged violations of law are excused, exempted, or justified under
  18 the statutes upon which Plaintiff’s claims are based.
  19                     THIRTY-FIFTH AFFIRMATIVE DEFENSE
  20         79.   Plaintiff’s Complaint and the causes of action alleged therein are barred
  21 by Plaintiff’s failure to state a clear and concise statement of the alleged claims,
  22 including, without limitation, Plaintiff’s failure to state a date or dates on which she
  23 allegedly encountered barriers at the physical property at issue.
  24                    THIRTY-SIXTH AFFIRMATIVE DEFENSE
  25         80.   Any allegedly wrongful acts or omissions performed by Apple or its
  26 agents, if any, do not subject Apple to liability because Apple was ready and willing
  27 to accommodate Plaintiff’s alleged disabilities by providing access via alternative
  28 methods, but Plaintiff never asked for or sought any assistance.

                                                 11
       ANSWER, AFF. DEFENSES & CROSS-CLAIM OF APPLE SOCAL LLC              Case No. 8:19-cv-02446
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   1                   THIRTY-SEVENTH AFFIRMATIVE DEFENSE
   2         81.    Plaintiff’s Complaint and the causes of action alleged therein are barred
   3 to the extent that Plaintiff’s claims are subject to the doctrines of res judicata and/or
   4 collateral estoppel based on Plaintiff’s prior actions or litigation.
   5                    THIRTY-EIGHTH AFFIRMATIVE DEFENSE
   6         82.    Plaintiff’s Complaint fails to state a claim against Apple to the extent
   7 Apple does not own, operate, lease and/or control the property in question.
   8                             RESERVATION OF RIGHTS
   9         83.    Apple has insufficient knowledge or information upon which to form a
  10 basis as to whether it may have additional, as yet unstated, separate defenses
  11 available. Apple has not knowingly or intentionally waived any applicable
  12 affirmative defenses and reserves the right to raise additional affirmative defenses as
  13 they become known through discovery in this matter. Apple further reserves the
  14 right to amend its answer and/or affirmative defenses and/or to delete affirmative
  15 defenses that it determines are not applicable during the course of subsequent
  16 discovery.
  17                     PRAYER FOR RELIEF AS TO APPLE’S ANSWER
  18
       WHEREFORE, Apple prays for judgment as follows:
  19
             1.     That Plaintiff’s Complaint be dismissed;
  20
             2.     That Plaintiff take nothing by reason of the Complaint, or any of his
  21
       claims for relief thereunder;
  22
             3.     That judgment be entered in favor of Apple;
  23
             4.     That Apple be awarded costs of suit and reasonable attorneys’ fees and
  24
       costs of suit herein;
  25
             5.     For such other and further relief as the Court deems just and proper.
  26
  27
  28

                                                 12
       ANSWER, AFF. DEFENSES & CROSS-CLAIM OF APPLE SOCAL LLC                Case No. 8:19-cv-02446
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   1                               APPLE’S CROSS-CLAIMS
   2         1.     Pursuant to Federal Rules of Civil Procedure 13(g), Cross-Claimant
   3 Apple SoCal LLC brings cross-claims against W. Jackson Bransford, Trustee of the
   4 Bransford Living Trust (“Cross-Defendant” or “Landlord”) and alleges as follows:
   5
                                JURISDICTION AND VENUE
   6         2.     Apple’s cross claim arises out of the transactions and occurrences that
   7 are the subject matter of Plaintiff’s Complaint and relates to the property that is the
   8 subject matter of Plaintiff’s action. This Court has jurisdiction over this cross-claim
   9 and the parties to it under 28 U.S.C. § 1331 and 1343, and Fed. R. Civ. P. Rule 13.
  10         3.     Venue is proper in this district under 28 U.S.C. §1391(b), (c) because the
  11 events or omissions giving rise to the claim occurred and the subject property is
  12 situated within the jurisdiction of this Court.
  13
                                      PARTIES/FACTS
  14
             4.     Apple is informed and believes that W. Jackson Bransford is a natural
  15
       person who is the trustee for the Bransford Living Trust, a trust doing business in the
  16
       State of California and is the owner of the Imperial Promenade shopping center at
  17
       West Imperial Highway, La Habra, California (the “Shopping Center”) of which the
  18
       Applebee’s Grill + Bar located at 1238 West Imperial Highway, La Habra and
  19
       complained of in Plaintiff’s Complaint, is a part (the “Premises”).
  20
             5.     On or about December 17, 2019, Plaintiff filed a Complaint against
  21
       Apple SoCal LLC and Landlord (identified as “Bransford W. Jackson, trustee of
  22
       Bransford W. Jackson Trust”) seeking damages and remedies under state and federal
  23
       law based on, among other things, alleged violations of various laws guaranteeing
  24
       access for the disabled.
  25
             6.     The parking areas that Plaintiff alleges denied her access are part of the
  26
       Shopping Center and are property owned and controlled by Landlord and Cross-
  27
       Defendant.
  28

                                                 13
       ANSWER, AFF. DEFENSES & CROSS-CLAIM OF APPLE SOCAL LLC                Case No. 8:19-cv-02446
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   1          7.    There is a lease agreement, as amended (the “Lease”) between Apple and
   2 Landlord with respect to the Premises. While the Lease was executed in April 1993
   3 by Apple’s predecessor in interest, on information and belief, it is enforceable by
   4 Apple against Landlord based on assignments, operation of law, and/or other grounds.
   5          8.    There is a Declaration and Agreement Establishing Protective
   6 Covenants, Conditions and Restrictions and Grants of Easements (the “CC&Rs”)
   7 attached to the Lease and incorporated by reference therein. On information and
   8 belief, the CCRs are and have been in effect at all relevant times and are enforceable
   9 by Apple, as the owner of a leasehold interest in the Premises, against Landlord based
  10 on assignments, operation of law, and/or other grounds.
  11          9.    The Lease and/or the CC&Rs, state that Landlord Cross- bears
  12 responsibility for all common areas, including parking areas and parking spaces, at
  13 the Shopping Center and serving the Premises.
  14          10.   The Lease and/or the CC&Rs also state that Landlord, as an owner, must
  15 “indemnify, hold harmless and agree to defend” Apple, as an owner of a leasehold
  16 interest, “against and from all claims, demands, actions, suits, expenses for injury or
  17 death or damage to or loss of property arising out of the construction, use, operation
  18 and maintenance of the building structures, parking areas, driveways, access points .
  19 . . .”
  20          11.   Accordingly, Landlord is responsible for any of Plaintiff’s alleged
  21 violations and/or injuries caused by its negligence, conduct, and/or inaction relating
  22 to the common areas, including the parking area at the Shopping Center outside the
  23 Premises.
  24
                    FIRST CROSS-CLAIM FOR EXPRESS INDEMNITY
  25
              12.   Apple incorporates by reference and re-alleges paragraphs 1 through 11
  26
       as though set in full herein.
  27
  28

                                                14
       ANSWER, AFF. DEFENSES & CROSS-CLAIM OF APPLE SOCAL LLC            Case No. 8:19-cv-02446
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   1         13.   Apple is informed and believes, and based thereon alleges, that the Lease
   2 and the CC&Rs became effective between Landlord and Apple prior to the August
   3 26, 2019 visit alleged by Plaintiff and remains in effect.
   4         14.   Pursuant to the Lease and/or the CC&Rs, including without limitation,
   5 the provisions identified in Paragraphs 7-11, supra, Landlord owes indemnification,
   6 including active defense reimbursement, to Apple.
   7         15.   Apple denies any wrongdoing on its part in this matter and contends that
   8 each of Plaintiff’s claims, and all of them, arise out of Landlord’s actual and/or
   9 claimed negligence, contractual breach or default, violation of the ADA or other
  10 applicable law, and/or other fault or wrongdoing, such that Apple is entitled to
  11 complete indemnification from Landlord under the Lease, CC&Rs, and applicable
  12 laws.
  13         16.   Apple seeks indemnification, including active and total defense
  14 reimbursement, inclusive of all attorney’s fees, expert fees, costs, and other litigation
  15 expenses, as well as protection against any adverse judgment or settlement.
  16         17.   Apple seeks an award of its attorney’s fees and costs incurred to defend
  17 the underlying Action by Plaintiff and to enforce the terms and provisions of the
  18 Agreement by way of this Cross Claim.
  19
                SECOND CROSS-CLAIM FOR BREACH OF CONTRACT
  20         18. Apple incorporates by reference and re-alleges paragraphs 1 through 17
  21 as though set in full herein.
  22         19.   As described above in paragraphs 7-11, the Lease and/or the CC&Rs
  23 include “hold harmless” provisions, including as to “all claims . . . arising out of the .
  24 . . use, operation, and maintenance of the . . . parking areas” at the Shopping Center.
  25         20.   Plaintiff’s Complaint alleges “claims” “arising out of the use” of the
  26 “parking areas.” Accordingly, Landlord is and was under a contractual duty to hold
  27 Apple harmless with respect to the allegations in the Complaint.
  28

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   1         21.    The Lease and/or the CC&Rs also place responsibility for maintaining
   2 the common areas of the Shopping Center, including the parking areas. If there is any
   3 truth to Plaintiff’s allegations in the Complaint, which Apple denies, then any
   4 violations are due to Landlord’s failure to comply with the requirements in the Lease
   5 placed on it to maintain the common areas.
   6         22.    Apple is informed and believes, and based thereon alleges, that Apple
   7 and Landlord each offered and accepted valid and sufficient consideration to one
   8 another with respect to the Lease and the incorporated CC&Rs.
   9         23.    Apple is informed and believes, and based thereon alleges, that it has
  10 materially complied with all relevant portions of the Lease.
  11         24.    Apple is informed and believes, and based thereon alleges, that Landlord
  12 materially breached its obligations by (1) failing to indemnify Apple to date in
  13 violation of the indemnification provisions and (2) failing to maintain the parking
  14 areas, according at least to Plaintiff’s Complaint.
  15         25.    The foregoing breaches directly and proximately caused damage to
  16 Apple in that it has incurred, and continues to and will incur, damages and losses in
  17 the form of attorney’s fees, costs, expert fees, other litigation expenses, and other
  18 damages stemming from Plaintiff’s Complaint and the corresponding breaches of
  19 Landlord alleged herein.
  20         26.    Accordingly, Apple prays for relief according to proof.
  21               PRAYER FOR RELIEF AS TO APPLE’S CROSSCLAIMS
  22         WHEREFORE, Apple / Cross-Complainant prays for relief and judgment as
  23         follows:
  24         27.    That judgment be entered in Apple’s favor with respect to its
  25 Crossclaims against Landlord;
  26         28.    That Landlord be required to indemnify Apple against all claims and
  27 other allegations asserted against Apple in Plaintiff’s Complaint;
  28         29.    That Landlord pay damages to Apple for breach of contract;

                                                16
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   1         30.   That Landlord be required to defend Apple from the outset of the case
   2 through reimbursement of attorney’s fees, expert fees, costs, and all other litigation
   3 expenses incurred in Apple’s defense of the Complaint and prosecution of these
   4 Crossclaims;
   5         31.   That Apple be awarded costs of suit;
   6         32.   For such other and further relief as the Court may deem just and proper.
   7
   8 Dated: February 7, 2020             APPLE AMERICAN GROUP
   9
  10
  11
                                         By:
                                         Jenna M. Yott
  12                                     Attorneys for Defendant and Cross-Claimant
  13                                     APPLE SOCAL LLC
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   1                            CERTIFICATE OF SERVICE
   2         I hereby certify that I electronically filed the foregoing with the Clerk of the
   3 Court for the United States District Court for the Central District of California by
   4 using the CM/ECF system on February 7, 2020.
   5         Participants in the case who are registered CM/ECF users will be served by the
   6 CM/ECF system.
   7         I further certify that some of the participants in the case are not registered
   8 CM/ECF users. I have dispatched the foregoing to a third party commercial carrier
   9 for personal delivery within 3 calendar days and placed a true copy thereof enclosed
  10 in a sealed envelope with First Class postage thereon fully prepaid, in the United
  11 States Mail at San Francisco, California to the following non-CM/ECF participants:
  12         W. Jackson Bransford
  13         Trustee for the Bransford Living Trust
             17682 Mitchell North, #200
  14
             Irvine, CA 92714
  15
  16 Dated: February 7, 2020           APPLE AMERICAN GROUP LLC
  17
  18
                                       By:                                    .
  19                                         Jenna M. Yott
  20                                         Attorneys for Defendant & Cross-Claimant
                                             Apple SoCal LLC
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